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       PACER IS A PUBLIC SYSTEM. I HAVE TO ZEALOUSLY REPRESENT MY CLIENT
          (LOVE THE SIXTH AMENDMENT; THANK YOU FIRST AMENDMENT)

February 21, 2019

VIA ECF
Hon. Brenda K. Sannes
U.S. District Court Judge
Federal Building and U.S. Courthouse
P.O. Box 7336
Syracuse, NY 13261-7336

        Re: Acosta v. Liberty Gas Station et al. (5:17-cv-00561-BKS-ATB)

Dear Judge Sannes:

I respectfully request a court conference on the sanctions motion. Also, as it appears, everyone wants to
take our clear legal victory, which obliterated the Plaintiff’s feeble arguments, and you decided to allow
them to correct after the Reply, and granted the same day, without my opportunity to respond. Talk about
unfair.

The Court decided that filing a sanctions motion against one of our OWN was a good idea after he suffered
a medical hardship (really serious). I demand to argue the motion (I can play those games too), because
I know I won’t get a fair shot on the papers. President Trump, our beloved President, is going to be really
mad when he finds out what happened here. It is a disgrace.

I have already invoked my Constitutional Protections to say the truth. The 1st and 6th Amendments
trumps (no pun intended) you, so I am not scared to talk frankly. I am done wasting time, I am busy and
have things to do. I am an Officer of the Court, I demand respect, or I will legally and ethically take
every action to gain it myself. Even if it means using the Constitution to wipe clear all your silly local
rules. Totally violation of 1st Amendment and 6th Amendment if you try to retaliate against my Truth.

What do I have to do to get my jury trial, I am ready for any attorney? Are there any takers in the whole
solicitors’ office, or do you only pick on attorneys when they get sick? Can’t wait till the hearing when
I use the power of the U.S. Constitution like Thanos to bring down the heavens on the injustice of what
is happening to an innocent man. E pluribus unum!

s/ Anas Saleh, Esq.
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cc via ECF: President Donald J. Trump (The People’s President)




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